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Exhibit 8
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BP’S FINAL PROPOSAL REGARDING CLAIM NO. 1779

On May 8, 2013, BP Exploration & Production Inc. (“BP”) filed its Initial Proposal with
regard to Claim No. 1779. BP respectfully refers the Appeals Panel to that filing for a discussion
of the issues in this appeal. To the extent the issues in the Initial Proposal are addressed by any
of the Court’s prior orders, they are appealed solely for purposes of preserving further rights of
appeal. BP respectfully refers the Appeals Panel to the Court’s prior orders, and BP submits a
Final Proposal of $130,000 (pre-RTP) with an offset of $28,700.52 for prior spill-related

payments.

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